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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

  EDWIN RAY SALGADO,

                 Plaintiff,

  vs.                                                   CASE NO. 3:16-cv-01083-MMH-MCR

  LOOMIS ARMORED US, LLC,

                 Defendant.




              SETTLEMENT AGREEMENT AND GENERAL RELEASE

         THIS      SETTLEMENT          AGREEMENT            AND     GENERAL        RELEASE

  ("Agreement") is. made this _ _ day of May, 2017, by and between EDWIN RAY

  SALGADO ("Salgado") and LOOMIS ARMORED US, LLC, its parents, predecessors,

  successors, subsidiaries, affiliates, insurers~ and their directors, officers, shareh:olders,

  owners, board members, employees, agents and attorneys both individually and in their

  capacities as directors, officers, shareholders, owners, board members, employees, agents '

  and attorneys ("Loomis") (Collectively, the "Parties").

         WHEREAS, Salgado was employed by Loomis from time to time from

  approximately February of2012lUltil March 2, 2016; and

         WHEREAS, Salgado instituted a Complaint with the. Circuit Court of Florida in··

 Duval Countr which was properly removed to the United States District Court,. Middle

  District of Florida, Jacksonville Division (Case No.: 3:16-cv-01083 ..MMH-MCR) (''the

  Lawsuif') alleging violations of the Fair Labor Standards Act {"FLSA").

         WHEREAS, Loomis denies liability herein, the claims made in the Lawsuit or
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  any wrongdoing with respect to Salgado or his employment or termination of

  employment with Loomis;

         WHEREAS, all wages concededly due to Salgado have been paid;

         WHEREAS, the Parties wish to settle their differences without resort to further

 litigation;

         WHEREAS, the Parties submit that the terms of this Agreement are the product of

 thoughtful, careful and deliberate negotiations regarding any and all issues in any way

 related to the Lawsuit;

         WHEREAS, Loomis· is willing to provide Salgado with certain considerations

  described below, which it is not ordinarily required to, provided Salgado releases Loomis

 from any claims Salgado has      mad~   or might make arising out of his employment with

 Loomis and agrees to comply with the other promises and conditions set forth in this

 Agreement;

         WHEREAS, the Parties consider this settlement reasonable in light of the nature

 of the violations alleged and the risks inherent in litigation; and

         WHEREAS, the Parties have resolved this matter and wish to avoid the

  disruption and expense of litigation, and do not wish to be compelled to take the very

 risks that they wish to avoid.

         NOW, THEREFORE, in consideration of the mutual covenants set forth herein

  and other good and valuable consideration, the receipt and sufficiency of which is hereby

  acknowledged, it is hereby

         STIPULATED AND AGREED by and between the undersigned Parties as




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 follows:

         1. ·        RECITALS.          The foregoing recitals are true and correct and are

 incorporated herein by this reference.

         2.          RETURN OF PROPERTY. On the date of this Agreem~nt, Salgado will

 return any and all equipment, uniforms, documents, lists, data, confidential information,

 trade secrets, or other property in his possession belonging to Loomis.

         3.          GENERAL RELEASE OF CLAIMS.

                     a.        This Agreement shall constitute a waiver and release of any and all

 claims Salgado .has, might have or could have, under federal, state or local law

 (including, but not limited to, actions for compensatory damages, pain, suffering and

 emotional distress) against Loomis, its parents, predecessors, successors, subsidiaries,

 affiliates,    in.~urers,   and their directors, officers, shareholders, owners, board members,

 employees, agents and attorneys both individually and in their capacities as directors,

 officers, shareholders, owners, ·board members, employees, agents and attorneys.

                     b.        Upon receipt of the consideration described in paragraph 4, if the

 Court does not otherwise dismiss the Lawsuit in full, Salgado shall execute and file a

 voluntary notice of dismissal, dismissing the Lawsuit with prejudice and shall dismiss

 any and all other actions or proceedings that he has or might have commenced against

 Loomis, including, but not limited to, any proceedings commenced by Salgado with the

 Equal Employment Opportunity Commission, the Florida Conmiission on Human

 Relations or any other local, state or federal agency.

                     c.       · Salgado hereby knowingly and voluntarily releases and forever




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 discharges Loomis, its parents, predecessors, successors, subsidiaries, affiliates, insurers,

 and their directors, officers, shareholders, owners, board members, employees, agents and

 attorneys both individually and in their capacities as directors, officers, shareholders,

 owners, board members, employees, agents and attorneys (collectively "Releasees") of

 and from any and all claims, whether known, unknown, anticipated, unanticipated,

 disclosed or undisclosed, against any of the Releasees which Salgado has or might have

 as of the date of execution of this Confidential Agreement, including any claims arising

 out of or in any way connected with Salgado's employment, relationship with or

 cessation of alleged employment and relationship with Loomis. Such claims include, but

 are not limited to, any ~laim that has been, could have been or could be alleged und~r:

                    •   Labor Management Relations Act of 1947;
                    •   The Employee Retirement Income Security Act of 1973;
                    •   The Consolidated Omnibus Budget Reconciliation Act of 1985;
                    •   The Civil Rights Act of 1866;
                    •   The Civil Rights Act of 1964;
                    •   The Civil Rights Act of 1991;
                    •   Age Discrimination in Employment Act of 1967
                    •   Sections 1981 through 1988 of Title 42 ofthe United States Code;
                    •   The Americans with Disabilities Act of 1990;
                    •   The Fair Labor Standards Act;
                    •   The Occupational Safety and Health Act;
                    •   The Family and Medical Leave Act of 1993;
                    •   The Fair Credit Reporting Act;
                    •   The Florida Civil Rights Act of 1992;
                    •   The Florida Equal Pay Act,§ 725.07, Florida Statutes;
                    •   Equal Pay Act of 1963; ·




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                     •   The Florida Whistleblower Act, § 448.102, et seq., Florida
                         Statutes;
                     •   Florida's Workers' Compensation Anti-Retaliation Provision~ §
                         440.205, Florida Statutes;
                     •   Florida's Wage Rate Provision,§ 448.07, Florida Statutes;
                     •   Florida's Attorneys' Fees Provision for Successful Litigants in
                         Suits for Unpaid Wages,§ 448.08, Florida Statutes;
                     •   The Rehabilitation Act of 1973;
                     •   The Health Maintenance Organization Act of 1973;
                     •   The Immigration Reform and Control Act of 1986;
                     •   Executive Order 11141;
                     •   Executive Order 11246; and
                     •   Executive Order 11375
 each as amended, and any other federal, state or local civil or human rights law, or any

 other local, state or federal law, rule, regulation or ordinance, and/or public policy,

  contract, or tort or co~9n law claim, including, but not limited to, any claims for

 defamation, negligent misrepresentation and/or breach of contract, having any bearing

 whatsoever or based on any matter or conduct, including without limitation any n1atter

 involving the terms and conditions (including compensation and benefits) of Salgado's

 employment, relationship or cessation of employment with Loomis, as of the date of .

 signing this Confidential Agreement.

                d.       Each party agrees to hold the other harmless from any loss, cost,

 damage or expense (including attorneys' fees) incurred by the enforcement of this

 Confidential Agreement by the prevailing party against the party in breach.

        4.      Settlement Sum and Consideration: As consideration for signing this




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 Confidential Agreement and compliance with the promises made herein, Loomis agrees

 to pay Salgado the gross   sum ofNine Thousand and No/100        Dollars ($9,000.00), less

 lawful deductions. This sum shall be allocated as follows:

         (a)    A total of Five Thousand Six Hundred and No/100 Dollars ($5,600.00)

         shall be made payable as alleged wage-based damages to Salgado, for which a W-

         2 shall be issued and for which withholdings shall be made;

         (b)     A total of Four Hundred and No/100 Dollars ($400.00) shall be made

         payable as alleged non-wage based damages, for which a Form-1099 shall be

         issued to Salgado; and

         (c)    A total of Three Thousand and No/100 Dollars ($3,000.00) shall be made

         payable to Salgado's legal counsel, Shorstein, Lasnetski & Gihon, LLC, Tax ID

         No.: XX-XXXXXXX for attorneys' fees, for which 1099s shall be issued to Salgado

         and his counsel.

         Loomis shall provide the consideration identified in this paragraph 3 within seven

  (7) calendar days after all of the following: (1) receipt of an original of this Agreement

  appropriately signed and dated by Salgado; (2) receipt of fully completed and fully-

 executed tax forms for all individuals/entities receiving checks; and (3) court approval of

 the FLSA Settlement Agreement and the dismissal of the Lawsuit with prejudice. The

  Effective Date of this Confidential Agreement shall mean the date on which the last of

 the three conditions set out in this Paragraph have been completed.

         This Confidential Agreement shall not become effective, therefore, and none of

 the benefits set forth in this paragraph will become due or payable, until after the




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 Effective Date of this Confidential Agreement.

         Loomis makes no representation as to the taxability of the amounts paid to

 Salgado. Salgado agrees to pay his portion of any additional federal or state taxes, if any,

 which are required by law to be paid by her with respect to this Agreement. Moreover,

 Salgado agrees to indemnify Loomis and hold it harmless from any interest, taxes or

 penalties it must pay on behalf of Salgado, as a result of Salgado's nonpayment of taxes

 that .Salgado was obligated to pay on any amount contained in this Agreement.

         5. ·   ALL HOURS WORKED. Salgado acknowledges and agrees that he has

 been paid properly for all work performed during his employment with Loomis and in

 accordance with applicable wage and hour laws as ofthe date of signing this Confidential

 Agreement.

         6.     NON-DISPARAGEMENT.                    Salgado agrees. that he shall and will

 not make, in writing or orally, any disparaging, defaming, or derogatory remarks about

 ·Loomis and/or its owners, officers, trustees, employees, services, and/or business

 practices.

         7.     OPPORTUNITY T.O REVIEW.                Salgado acknowledges that he has

 been given the opportunity to review this Agreement and the terms herein with an

 attorney prior to execution, and is entering into this Agreement freely and knowingly.

  Salgado acknowledges that he is aware that he is giving up all claims he has or may have

 against Loomis and its respective parents, predecessors, successors, subsidiaries,

 affiliates, and i~s directors, officers, shareholders, members, employees -- including, but

 not limited to, agents, insurers and attorneys as of the date of this Agreement. Salgado




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  acknowledges that he has been given the opportunity to seek legal advice before

  executing this Agreement. In fact, Salgado acknowledges that he has consulted with his

  counsel of record, Paul Shorstein, Esquire, prior to the execution of this Agreement and

  signs this Agreement knowingly, freely and voluntarily.

         8.     WAIVER OF JURY TRIAL. Salgado and Loomis hereby lmowingly,

  voluntarily, and intentionally waive any right to a jury trial in respect to any claims

  arising in connection with the employment relationship and/or this Agreement.

         9.     WORKPLACE INJURY. Salgado acknowledges that he did not suffer

  any workplace injuries including, but not limited to, physical injuries during his

  employment with Loomis that has not been fully resolved.

         10.    FUTURE EMPLOYMENT•.

                a..     Salgado will not seek, take, cause or permit to be taken, any action

 now or at any point in the future to enter into active employment with Loomis, its

 parents, subsidiaries, affiliates, and their directors, officers, shareholders or owners.

  Salgado agrees not to knowingly apply for employment at any time henceforth with any

 business entity affiliated with or owned, managed or licensed, in whole or in part by

  including · any of its parents, subsidiaries, affiliates, and their directors, officers,

  shareholders or owners.

                b.      Salgado agrees that if he knowingly or unknowingly applies for a

 position with an entity of the status described in paragraph 1Oa herein, and is offered or

 accepts a position, the offer may be . withdrawn, or Salgado may be terminated

 immediately, without notice or cause. Salgado further agrees that, in the event of such an




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 offer and withdrawal, or hiring and termination, as described in this paragraph, Salgado

 waives any right to seek legal.or administrative redress of any kind for events relating to

 the withdrawal of the offer, or termination of employment as described in paragraph 10.

        11.     NONADMISSION OF WRONGDOING. Salgado agrees that neither

 this Agreement nor the furnishing of the . consideration for this Agreement shall be

 deemed or construed at any time for any purpose as an admission by Loomis of anf

 liability or unlawful conduct of any kind.

        12.     SEVERABILITY. Except as set forth below, should any provision of

 this Agreement be declared illegal or unenforceable by . any court of competent

 jurisdiction, such that it cannot be modified to be enforceable excluding the general

 release language, such provision shall immediately become null and void, leaving the

 remainder of this Confidential Agreement in full force and effect.

        13.     VENUE, GOVERNING LAW AND INTERPRETATION.                                   This

 Agreement shall be governed by the laws of the State of Florida without regard .to its

 conflict of laws provisions. This Agreement shall be interpreted in accordance with the

 plain meaning of its terms and not strictly for or against any of the parties hereto. ·

         14.    ENTIRE RELEASE. This Agreement sets forth the entire agreement

 between Salgado and Loomis, and supersedes any and all prior oral or writ~ten

 agreements, understandings, representations or warranties between the Parties. Salgado

 acknowledges that he has not relied on any representations, promises, or agreements of

 any kind made to him in connection with his decision to sign this Agreement, except

 those set forth in this Agreement.




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         15.    NO INTERFERENCE WITH RIGHTS. Salgado understands that

  nothing _in this Agreement, including but not limited to paragraph 6, shall be

  construed to prohibit SALGADO from filing a charge or complaint with, or

  participating in any investigation or proceeding conducted by, the National Labor

  Relation Board, the Equal Employment Opportunity Commission, the               Fl~rida


  Commission on Human Relations and/or any federal, state or local agency, although

  by signing this Agreement, SALGADO understands that he is waiving his right to

  receive individual relief based on claims asserted in any such charge or complaint,

  except where such a- waiver is prohibited. SALGADO further understands that

  nothing in this Agreement shall be construed to prohibit him from exercising his

  rights under Section 7 of the National Labor Relations Act. SALGADO understands

  that his release of claims as contained in this Agreement does not extend to any

  rights he may have under any Jaws governing the filing of claims for unemploy~ent

  and/or workers' compensation benefits.           SALGADO further understands that

  nothing herein shall be construed to prohibit him from (a) challenging LOOMIS's

  failure to comply with its promises to make payment, provide other consideration

  under this Agreement and comply with the other conditions. of this Agreement; (b)

  asserting his right to any   ~ested   benefits to which he. is entitled pursuant to the

  terms of the applicable plans and/or applicable law; and/or (c) asserting any claim

  -that cannot lawfully be waived by private agreement.

         16.    AMENDMENTS.             This Agreement may not be amended, tnodified,

  altered, or changed, except by a written Agreement which is both signed by all parties




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  and which makes specific reference to this Agreement.

         THE SIGNATORIES HAVE CAREFULLY READ TIDS ENTIRE
  SETTLEMENT AGREEMENT AND GENERAL RELEASE, THE PARTIES
  HAVE BEEN GIVEN THE OPPORTUNITY TO BE REPRESENTED BY
  COUNSEL THROUGHOUT THE NEGOTIATION OF THIS AGREEMENT,
  AND     HAVE      EXECUTED         TIDS    AGREEMENT    KNOWINGLY   AND
  VOLUNTARILY.         THE PARTIES FULLY UNDERSTAND THE FINAL AND
  BINDING EFFECT OF TIDS CONFIDENTIAL AGREEMENT.                THE ONLY
  PROMISES OR REPRESENTATIONS MADE TO ANY SIGNATORY ABOUT
  TIDS AGREEMENT ARE CONTAINED IN TIDS AGREEMENT.
         HAVING ELECTED            TO EXECUTE THIS SETTLEMENT AGREEMENT
  AND GENERAL RELEASE, TO FULFILL THE PROMISES SET FORTH
  HEREIN, AND TO RECEIVE THEREBY THE SUMS AND BENEFITS SET
  FORTH IN PARAGRAPH 4 ABOVE, SALGADO FREELY AND KNOWINGLY
  AND AFTER DUE· CONSIDERATION, EXECUTES THIS SETTLEMENT
  AGREEMENT AND GENERAL RELEASE INTENDING TO WAIVE, SETTLE
  AND RELEASE ALL CLAIMS HE HAS OR MIGHT HAVE AGAINST AND THE
  RELEASEES ARISING PRIOR TO THE EXECUTION OF TillS AGREEMENT.
         THE ·PARTIES ARE SIGNING THIS AGREEMENT VOLUNTARILY
  ·AND KNOWINGLY.


  Dated: May _1_6 2017.




  STATE OF FLORIDA             )
  COUNTYOFDUVAL                )
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              SWORN TO AND SUBSCRIBED before me·this                                 J).. day of May, 2017 by
  EDWIN RAY SALGADO, who is personally known to me or has produced
    f \__..    Dd \) £ .( S U C..& n ye                             as identification.




                                                               (Notary Signature)

  (NOTARY SEAL)
                        .   ,.


                CEliA ALVARADO l.EOH GUEIRERO                   C.£>\\~     Buacad<.?)J       eao(S,;.Q.r\'"t?\0
              • Commission# FF 176933                          (Notary Name Printed)
              = Expires November 17, 2018
                Blndld11111 '"' ,.tM!nnOIJ00.315.l1111         NOTARY PUBLIC
                                                               Commission No~ ·ff:        }lloCf 33




  Dated: May_, 2017                                      LOOMIS ARMORED US, LLC


                                                         By:        ~~f)f-          l
                                                               Its:     17 II/,-- .1/-<J ""I A./ "£,'"p(~77t»-J




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